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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,                           CRIMINAL NO: 91-80936
v.
                                                           HON: PATRICK J. DUGGAN
D-3 EZRA HENRY,

                  Defendant.
_________________________________/



                                           ORDER

       BEFORE THE COURT is a motion filed by the United States of America and the
Director of the Federal Bureau of Prisons pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), seeking a
modification of the term of imprisonment of the defendant, Ezra Henry, to time served, and
commencement of a five-year term of supervised release previously imposed. The Court finds:

1.      Ezra Henry was convicted of violating 21 U.S.C. § 846,21 U.S.C. § 841(a)(1), and 21
       U.S.C. § 843(b), Conspiracy to Possess with the Intent to Distribute and Distribution of
       Cocaine and Heroin, Possession with the Intent to Distribute Heroin, and Unlawful Use
       of a Telephone.
2.     He was sentenced on December 14, 1992, in the District Court for the Eastern District of
       Michigan, to a 250-month term of imprisonment followed by a five-year term of
       supervised release.

3.     His projected release date is August 24, 2010, via Good Conduct Time.

4.     Mr. Henry, age 63, has been diagnosed with severe congestive heart failure, atrial
       fibrillation, cardiac insufficiency, cardiomegaly, hypertension, pericarditis, chronic
       airway obstruction, venous embolism, and thrombosis. He has a mitral valve
       replacement. His mental responses have become noticeably slower and his memory is
       becoming increasingly impaired. During his incarceration his cardiac condition has
       continued to deteriorate and he has experienced numerous hospitalizations and
       procedures. Mr. Henry is compliant with medical recommendations but his medical
       options have been maximized and his care now focuses on comfort measures. He
       requires assistance in accomplishing his Activities of Daily Living. His prognosis is poor
       and his survival for the next six months is approximately 50 percent.
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5.     Title 18 U.S.C. § 3582(c)(1)(A)(i) authorizes the Court, upon motion of the Director of
       the Bureau of Prisons, to modify a term of imprisonment upon the finding that
       extraordinary and compelling reasons warrant the reduction. The Director of the Bureau
       of Prisons contends, and this Court agrees, that the defendant's terminal and debilitated
       medical condition and very limited life expectancy, constitute extraordinary and
       compelling reasons that warrant the requested reduction.


       IT IS THEREFORE ORDERED that the defendant's term of imprisonment is hereby
reduced to the time he has already served.

       IT IS FURTHER ORDERED that the defendant shall be released from the custody of the
Federal Bureau of Prisons as soon as his medical condition permits, the release plan is
implemented, and travel arrangements can be made.

       IT IS FURTHER ORDERED that upon his release from the custody of the Federal
Bureau of Prisons, the defendant shall begin serving a five-year term of supervised release
previously imposed.


DONE AND ORDERED THIS 24th DAY OF SEPTEMBER 2008.



                              S/Patrick J. Duggan
                              Patrick J. Duggan
                              United States District Judge

Dated: September 24, 2008

I hereby certify that a copy of the foregoing document was served upon counsel of record on
September 24, 2008, by electronic and/or ordinary mail.

                              S/Marilyn Orem
                              Case Manager
